




Form: Dismiss TRAP 42.1(a)(1)














COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




JOEY DEHART D/B/A AMERICAN
TRENCH,


                            Appellant,


v.


UNIFIRST CORPORATION,


                            Appellee.

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No. 08-03-00137-CV


Appeal from the


394th Judicial District Court


of Brewster County, Texas


(TC# 2000-10-B7603-CV)



M E M O R A N D U M    O P I N I O N


	Pending before the Court is the Appellant's motion to dismiss this appeal pursuant to
Tex. R. App. P. 42.1(a)(1), which states:

(a) On Motion or By Agreement.  The appellate court may dispose of an
appeal as follows:


	(1) On Motion of Appellant.  In accordance with a motion of
appellant, the court may dismiss the appeal or affirm the appealed judgment
or order unless disposition would prevent a party from seeking relief to
which it would otherwise be entitled.

 

.               .               .


	The Appellant has complied with the requirements of Rule 42.1(a)(1).  The Court has
considered this cause on the Appellant's motion and concludes the motion should be granted
and the appeal should be dismissed.  We therefore dismiss the appeal.

December 4, 2003

						_______________________________________

						RICHARD BARAJAS, Chief Justice



Before Panel No. 4

Barajas, C.J., Larsen, and McClure, JJ.






